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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

JANE DOE,                          )
                                   )
          Plaintiff,               )
                                   )
          vs.                      )Civil No. 1:23-cv-02006-APM
                                   )
LYFT, INC., et al.,                )
                                   )
          Defendant.               )
___________________________________)


                                  ORDER
     Upon consideration of Plaintiff’s Consent Motion to Extend

the Time for Service Upon Defendant Naoufal Jellali, it is this

________ day of August, 2023;

     ORDERED, that Plaintiffs’ Consent Motion to Extend the Time

for Service Upon Defendant Naoufal Jellali is GRANTED, and it is

further

     ORDERED, that Plaintiff shall have sixty (60) days from the

date of this Order to serve process and file proof of service

upon the Defendant Naoufal Jellali.




                                          ______________________
                                          U.S. DISTRICT COURT JUDGE




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Copies to:

Joseph Cammarata, Esquire
Kayann Chambers, Esquire
CHAIKIN, SHERMAN, CAMMARATA & SIEGEL, P.C.
1232 17th Street, N.W.
Washington, D.C. 20036


Christopher R. Williams
SHEPPARDMULLIN
2099 Pennsylvania Avenue, NW, Suite 100
Washington, DC 20006-6801
CWilliams@sheppardmullin.com




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